Case 1:23-cv-00142-BLW Document 27 Filed 04/11/23 Page 1 of 1

UNITED STATES DISTRICT COURT
DISTRICT OF IDAHO

Form 1B. Waiver of Service of Summons

To: /s/ Colleen R. Smith (ISB No. 10023) (name of
plaintiff's attorney or unrepresented plaintiff)

 

I acknowledge receipt of your request that I waive service of a summons in the action of
Planned Parenthood Great Northwest, Hawaii, Alaska, Indiana, Kentucky et. al. V. Labrador et. al.

(caption of action)
which is case number 1:23-cv-00142-DKG in the United States District
(docket number)
Court for the District of Idaho, I have also received a copy of the complaint in the action, two copies of this
instrument, and a means by which I can return the signed waiver to you without a cost to me.

 

I agree to save the cost of service of a summons and an additional copy of the complaint in this lawsuit by
not requiring that I (or the entity on whose behalf I am acting) be served with judicial process in the manner provided
by Rule 4.

I (or the entity on whose behalf I am acting) will retain all defenses or objections to the lawsuit or to the
jurisdiction or venue of the court except for objections based on a defect in the summons or in the service of the
summons.

I understand that a judgment may be entered against me (or the party on whose behalf I am acting) if an
answer or motion under Rule 12 is not served upon you within 60 days after
April 6, 2023 , or within 90 days after that date

(date request was sent)
if the request was sent outside the United States.

  

Nn

(Date)

 

Duty to Avoid Unnecessary Costs af Service of Summons:

Rule 4 of the Federal Rules of Civil Procedure requires certain parties to cooperate in saying unnecessary costs of service of the summons and complaint.
A defendant who, after being notified of an action and asked to waive service of a summons, fails to do so will be required to bear the cost of such service unless gaod
cause be shown for its failure to sign and return the waiver.

It is not good cause for a failure to waive service that a party believes that the complaint is unfounded, or that the action has been brought in an improper
place or in a court that lacks jurisdiction over the subject matter of the action or over its person or property. A party wha waives service of the summons retains
all defenses and objections (except any relating to the summons or to the service ef the summons), and may later object to the jurisdiction of the court or to the place
where the action has heen brought,

A defendant who waives service must within the time specified of the waiver farm serve on the plaintiff's attorney (or unrepresented plaintiff) a response
to the complaint and must also file a signed copy of the response with the court. If the answer or motion is not served within this time, a default judgment may be
taken against the defendant. By waiving service, a defendant is allowed more time to answer than if the summons has been actually served when the request for waiver
of service was received. Defendant can respond by signing and returning waiver (Form 1B) or defendant may fail to return waiver within the time allowed.
If waiver is not used, the plaintiff must serve process as stated in the rule but may recover costs from defendant.

& LIST ALL THE DEFENDANTS TO WHOM THIS WAIVER APPLIES
